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                                                           DIRECT DIAL 929.294.2540
                                                           DIRECT EMAIL jdabbs@kaplanhecker.com



                                                                                  November 6, 2020

BY ECF
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     United States v. Arguedas et al. (Denise Bullock), 20 Cr. 135 (JMF)
       Dear Judge Furman:

        We write respectfully to seek permission for defendant Denise Bullock to make several
short upcoming day trips from her home incarceration, including this Sunday, November 8, for a
family gathering in Manhattan. Ms. Bullock is on pretrial home incarceration under Your Honor’s
September 15, 2020 order granting her conditional release. (See ECF No. 224.) The government
objects to these requests. We have informed Ms. Bullock’s Pretrial supervisor, Bernisa Mejia,
about these requests and will coordinate any permitted travel with Pretrial. Ms. Mejia has permitted
us to convey her statement that she is “so proud” of Ms. Bullock for “doing so well” under her
supervision.

        First, Ms. Bullock respectfully requests permission to attend a family gathering – a gender-
reveal ceremony for her cousin’s baby – this Sunday, November 8, in Manhattan. Ms. Bullock
would travel to and from her location of home incarceration with family members attending the
gathering, and would return before the end of the day.

        Second, Ms. Bullock respectfully requests permission to visit her mother, sister, and her
children on the Thanksgiving holiday, and one more time on November 30 to celebrate the seventh
birthday of her twin boys. On October 19, 2020, Your Honor granted several of Ms. Bullock’s
travel requests, but denied her request for certain overnight family visits as “inconsistent with the
concept of home incarceration.” (ECF No. 244.) Accordingly, Ms. Bullock seeks permission to
visit her family on Thanksgiving, and again on November 30 for her sons’ birthdays, as day trips.
Should Your Honor reconsider, at least in part, the Court’s prior ruling on overnight visits,
Ms. Bullock would respectfully request permission to spend the night of the Thanksgiving holiday
(or the night leading into the Thanksgiving holiday) with her children and her mother at their home
in Manhattan.
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      Thank you for your consideration of this matter.
                                                     Respectfully submitted,



                                                     Jenna M. Dabbs
                                                     Justin Horton
                                                     Brandon C. Thompson
                                                     KAPLAN HECKER & FINK LLP
                                                     350 Fifth Avenue, Suite 7110
                                                     New York, New York 10118
                                                     Telephone: (212) 763-0883
                                                     Facsimile: (212) 564-0883
                                                     jdabbs@kaplanhecker.com
                                                     jhorton@kaplanhecker.com
                                                     bthompson@kaplanhecker.com

                                                     Counsel for Denise Bullock

cc:   AUSAs Danielle Sassoon, Andrew Chan, and Brandon Harper (via ECF)
      PSO Bernisa Mejia (via email)



  The application is denied as moot with respect to the November 8th event. (For future reference,
  counsel should make this sort of application at least 48 hours in advance --- and certainly not
  on a Saturday for an event on Sunday.) Having spoken with Defendant's Pretrial Services Officer,
  the Court grants Defendant's other requests. That is, she is permitted to visit her mother, sister, and
  her children on Thanksgiving and again on November 30th to celebrate her sons' seventh birthday.
  In both instances, she shall provide the relevant address to her Pretrial Services Officer (so
  that the GPS monitor can be programmed for the new location), and she shall return home on the
  same day. The times at which she may leave home and must return home shall be determined by the
  Pretrial Services Officer. Counsel shall make arrangements for Defendant's transportation to and
  from the location and shall provide the details of that transportation to the Pretrial Services Officer.

  The Clerk of Court is directed to terminate ECF No. 272.

                                                SO ORDERED.




                                                November 9, 2020


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